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UNITED STATES BANKRUPTCY COURT

Western District of Kentucky

 

IN RE: Case No.: 14-11216-jal
Eugene A. Shy

Debtor(s) Chapter 7

 

MOTION TO AVOID LIEN

Debtor, by counsel, hereby moves the Court pursuant to Section 522(f) of the Bankruptcy
Code to avoid the lien on the following described property:

On September 27, 2000, Fifth Third Auto Leasing Trust and Gene A. Shy entered into a
Leasing Agreement regarding a 2000 Toyota 4 Runner vehicle. A copy of the Complaint that was
filed November 2, 2007, along with three (3) Exhibits, is attached hereto.

In support of said Motion, Debtor states:

1. New Falls Corporation, a creditor, filed a lien in the Office of the Clerk of Warren

County, in Book E117, Pages 439-430. A copy of the Judgment Lien is attached.
However, it was not served on Debtor.
De The amount of the claim which the lien secures is $11,593.53.

3. The above-mentioned lien is a Judgement lien.

4. Debtor owns one-half (1/2) undivided interest in 2444 Mohawk Drive, Bowling
Green, Kentucky 42104.

5. Debtor submits the following information on the value of the property:
A). Fair Market Value: $94,000.00

B). Value listed in Schedules: $94,000.00

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C). Value according to records of County Property Valuation Administration:
$125,000.00

D). — Purchase Price: $97,400.00
E). Date of Purchase: October 19", 2001

F). Senior mortgages or liens on the property: 1‘ Mortgage: $76,176.00
24 Mortgage: $10,453.00

6. The trustee has abandoned the property.
7 The debtor does claim an exemption of $5,000.00 in said property.
8. The lien held by the creditor impairs the exemption of the debtor in the property

described in the motion.

WHEREFORE, the debtor moves the Court to order the lien void and for such other relief
as may be entitled.

*Any objections to this Motion must be filed within 14 days of the Certificate of Service
date below.

Should no objection be received, an Order approving this Motion to Avoid Lien may be
entered.

Judd, Satterfield & Associates, PLLC
869 Broadway Avenue

Bowling Green, KY 42101
Telephone: (270) 904-4141
Facsimile: (888) 590-2842

S/Harlan E. Judd, II

 

Harlan E. Judd, III

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CERTIFICATE OF SERVICE

This is to certify that a true and exact copy of the foregoing was placed in the U.S. Mail
addressed as follows:

Alicia C. Johnson
PO Box 1654
Russellville, KY 42276

Charles R. Merrill

Asst. U.S.Trustee

601 West Broadway #512
Louisville, KY 40202

New Falls Corporation
100 North Center Street
Newton Falls, OH 44444

William F. Codell

Harned, Bachert &Denton, LLP
324 East 10" Avenue

P.O. Box 1270

Bowling Green, KY 42102

This the 26" day of July, 2019

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